                                                                                                    Remarkable Healthcare
                                         Case 23-42102              Doc 1-2 Filed 11/02/23 Entered 11/02/23 20:55:14                                  Desc
                                                                                            Balance
                                                                    Consolidated Balance Sheet  PageSheet
                                                                                                     1 of 1
                                                                                                    As of September 30, 2023


                                                     Seguin                   Ft. Worth                           Dallas                    Prestonwood                     LLC                   Total
Assets

Cash and Cash Equivilants                           $517,944                  $253,307                          $96,283                          $378,966                -$351,950             $894,550
Accounts Receivable                                 $487,676                 $2,188,808                        $1,953,761                       $1,477,991                   $0               $6,108,235
Other Current Assets                                $911,518                 $1,262,643                         $823,150                         $737,026                -$730,251            $3,004,087
Total Current Assets                               $1,917,138                $3,704,758                        $2,873,194                       $2,593,983              -$1,082,201          $10,006,872

Fixed Assets (Net)                                  $183,985                  $710,085                          $750,069                        $1,188,900               $163,204             $2,996,243
Total Assets                                       $2,101,124                $4,414,842                        $3,623,263                       $3,782,883              -$918,997            $13,003,115



Liabilities
Accounts Payable                                    $784,822                 $1,129,929                        $1,050,705                        $915,078                 $57,597             $3,938,130
Current Note Payable                                $868,936                 $1,076,516                         $209,950                        $1,120,300               $299,851             $3,575,553
Long Term Note Payables                             $190,326                  $246,123                          $193,335                         $363,319                                      $993,102
Other Liabilities                                   $364,052                  $827,826                          $385,895                         $988,967                $39,138              $2,605,878
Intercompany Accounts                              -$4,268,447              -$6,543,008                        $3,082,873                       $1,580,450              $2,579,718           -$3,568,413
Total Liabilities                                  -$2,060,310              -$3,262,614                        $4,922,756                       $4,968,114              $2,976,305            $7,544,250

Equity
Owner Contributions, Net                            $375,984                  $372,256                          $349,026                          -$35,341               -$102,711             $959,215
Retained Earnings                                  $3,785,450                $7,305,201                       -$1,648,520                       -$1,149,890             -$3,792,590           $4,499,650
Total Liabilities and Equity                       $2,101,124                $4,414,842                        $3,623,263                        $3,782,883              -$918,997           $13,003,115

Balance                                        $                -       $                    -       $                             -        $               -       $                -       $            -
Footnote:
The accompanying financial statements have been adjusted retroactively to January 1, 2017 to record rent expense, since inception, on a cash basis which is not in accordance with generally accepted accounting
principles. However, in the opinion of management, the cash basis more fairly reflects the economic operating results of the entities.
